       FI/1L5E D
 AO 91 (Rev. 11/11) Criminal Complaint
                                         UNITED STATES DISTRICT COURT
                                                                             AUSA Jasmina Vajzovic (312) 469-6233

          11 /2021                       NORTHERN DISTRICT OF ILLINOIS
     THOMA.SDG . BRUTO
                       T
                          N
                         COURT                EASTERN DIVISION
             IS T R IC
  CLERK, U.S
 UNITED STATES OF AMERICA
                                                        CASE NUMBER: 21CR696
                         v.

 LINDSEY BELL

                                             CRIMINAL COMPLAINT
       I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
                                                   Count One
       On or about November 12, 2021, at Chicago, in the Northern District of Illinois, Eastern Division,
and elsewhere, the defendant violated:
      Code Section                                   Offense Description
      Title 18, United States Code, Section          robbery of a person having lawful charge, control, or
      2114(a)                                        custody of any money or other property of the United
                                                     States, and, in effecting such robbery, put that person’s
                                                     life in jeopardy by the use of a dangerous weapon,
                                                     namely, a firearm
                                                  Count Two
       On or about November 12, 2021, at Chicago, in the Northern District of Illinois, Eastern Division,
the defendant violated:
      Code Section                                   Offense Description
      Title 18, United States Code, Section          knowingly brandished a firearm during and in relation
      924(c)(1)(A)                                   to a crime of violence for which he may be prosecuted
                                                     in a court of the United States, namely, robbery of
                                                     property of a person having control of money of the
                                                     United States, in violation of Title 18, United States
                                                     Code, Section 2114, as further set forth in Count One
                                                     of this Complaint

    This criminal complaint is based upon these facts:
      X   Continued on the attached sheet.
                                                                                 11/15/2021
                                                           Sean Ahern
                                                           Special Agent, Bureau of Alcohol, Tobacco,
                                                           Firearms & Explosives (ATF)

Pursuant to Fed. R. Crim. P. 4.1, this complaint is presented by reliable electronic means. The above-named
agent provided a sworn statement attesting to the truth of the foregoing affidavit by telephone.

 Date: November 15, 2021            10:00am
                                                                           Judge’s signature
City and state: Chicago, Illinois   JEFFREY COLE, U.S. Magistrate Judge
                                              Printed name and title
 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                    AFFIDAVIT

      I, SEAN AHERN, being duly sworn, state as follows:

      1.     I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (“ATF”), and have been so employed since approximately 2018. As part of

my duties as an ATF Special Agent, I investigate criminal violations of federal

firearms and drug-trafficking offenses, including, but not limited to, Title 18, United

States Code, Sections 922 and 924, and Title 21, United States Code, Sections 841

and 846.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that LINDSEY BELL has violated Title 18, United States Code, Section 2114, by

robbing an individual who had lawful charge, control, or custody of money of the

United States, of money or other property of the United States; and Title 18, United

States Code, Section 924(c)(1)(A), by brandishing a firearm during and in relation to

a crime of violence.

      3.     The facts set forth in this affidavit are based on my personal knowledge,

my training and experience, my review of certain reports and video footage,

information provided to me by various law enforcement personnel and witnesses, and

the training and experience of other law enforcement officers with whom I have

spoken.
       4.     Because this affidavit is being submitted for the limited purpose of

establishing probable cause in support of a criminal complaint charging BELL with

robbery of an individual of money or property of the United States and with

brandishing a firearm during that robbery, I have not included each and every fact

known to me concerning this investigation. I have set forth only the facts that I

believe are necessary to establish probable cause to believe that the defendant

committed the offenses alleged in the complaint.

I.     FACTS SUPPORTING PROBABLE CAUSE

       A.     Background of Investigation

       5.     Since in or around January 2021, law enforcement has been

investigating members of the “Fly Life” faction of the Gangster Disciples street gang

(the “Fly Life GD”), who are known to operate on the west side of Chicago, for alleged

violations of federal firearm and drug trafficking laws. Specifically, law enforcement

has been investigating Lindsey BELL, believed to be a Fly Life GD member, for

unlawful possession of firearms by a felon, and unlawful distribution of controlled

substances, among other offenses.

       6.     The investigation has involved the use of a confidential source (“CS-1”) 1,

who         engaged      in      eight       controlled       purchases       of      3,4-



1 CS-1 has been arrested on approximately eight occasions and has two criminal convictions
for narcotics-related offenses. CS-1 has been cooperating with law enforcement since in or
around 2006. To date, ATF has paid CS-1 approximately $243,325 in exchange for his/her
assistance in this investigation and other investigations. CS-1 has provided both ATF and
the Chicago Police Department with information that has been proven reliable in the past
and that has resulted in the recovery of narcotics, firearms, and ammunition. Information
provided to law enforcement by CS-1 has been further corroborated by recorded conversations
and controlled purchases of firearms and narcotics. Since cooperating with ATF, CS-1 has


                                            2
Methylenedioxymemethamphetamine (“ecstasy” or “MDMA”) from BELL from

approximately February 2021 through approximately June 2021.

       7.     Specifically, between February 2021 and June 2021, CS-1, who was

acting at the direction of law enforcement, purchased MDMA approximately eight

times from BELL. Each time, CS-1 coordinated the transaction with BELL, who was

using telephone number 773-xx-6076. 2 Each transaction was audio and video

recorded by CS-1 and surveilled by law enforcement. In total, BELL sold CS-1

approximately 227 grams of MDMA in exchange for $10,600 over eight transactions.

       B.     BELL’s Armed Robbery of CS-1 On or About November 12, 2021

       8.     On or about November 8, 2021, at approximately 2:50 p.m., BELL used

a Facebook account with the username “Corey Bell” to communicate with CS-1 about

selling a firearm to CS-1. 3 At approximately 3:00 p.m., BELL sent CS-1 a picture, via

Facebook messenger, of the firearm that BELL wanted to sell. A screenshot of the



been working exclusively as a paid informant and is not currently cooperating in exchange
for potential sentencing credit or other consideration in a pending criminal case.
2 Law enforcement identified BELL as the user of the telephone number ending in -6076
based on the following: as described in this affidavit, CS-1 set up several narcotics
transactions with the user of the -6076 number. At those transactions, law enforcement
observed BELL meet with CS-1 to conduct the transactions. In addition, law enforcement
compared the video recordings of BELL to the audio recordings of the user of the -6076
number and determined that BELL is the user of the -6076 number.
3 Law enforcement believes BELL is the user of this Facebook account for the following
reasons: as described in this affidavit, CS-1 communicated with the user of the “Corey Bell”
Facebook account and they agreed to meet up, so that CS-1 could purchase a pistol from the
user of the “Corey Bell” account. CS-1 went to the planned meeting on November 12, 2021,
and BELL was the individual who met up with CS-1 on November 12, 2021. Further, the last
name of the user who communicated with CS-1 matches BELL’s last name, and the profile
picture for the account appears to be BELL. CS-1 showed law enforcement the messages that
he/she exchanged with BELL leading up to the planned firearm transaction, and law
enforcement captured the messages.



                                             3
Facebook messages exchanged between BELL and CS-1 are depicted below. The

communications from BELL’s account are in gray, and CS-1’s messages are in blue.




      9.    On or about November 10, 2021, at approximately 8:00 a.m., CS-1 texted

BELL on telephone number 773-xxx-6076. In the message, CS-1 asked BELL to call




                                        4
him/her. At approximately 9:40 a.m., BELL, using telephone number 773-xxx-3617, 4

called CS-1. The call was recorded. During the call, BELL agreed to sell CS-1 the

pistol for $1,000. BELL and CS-1 agreed to meet on or about November 12, 2021 to

conduct the transaction. Also, during the call, CS-1 asked BELL to send CS-1 a video

of the pistol as verification of BELL’s possession of the pistol.

       10.    On or about November 11, 2021, at approximately 12:44 a.m., BELL,

using telephone number 773-xxx-3617, sent a video of the firearm to CS-1. A

screenshot from the video is below:




4 Law enforcement identified BELL as the user of the telephone number ending in -3617
based on the following: as described in this affidavit, the user of the -3617 number placed
telephone calls to CS-1 for the purpose of setting up a firearm transaction with CS-1 to take
place on or about November 12, 2021. On or about November 12, 2021, BELL met with CS-
1. In addition, as set forth in footnote 2 above, law enforcement is familiar with BELL’s voice
based on law enforcement’s review of prior audio and video recordings of BELL. Based on law
enforcement’s review of the recordings between CS-1 and the user of the -3617 number, law
enforcement identified BELL as the person who used the -3617 number to place telephone
calls to CS-1, as set forth in this affidavit.



                                              5
      11.    On or about November 12, 2021, BELL, using telephone number 773-

xxx-3617, had recorded calls with CS-1 confirming the planned firearm transaction.

Specifically, during the calls, BELL and CS-1 agreed to meet later that day at

approximately 1:00 p.m. near a gas station located at approximately Van Buren

Street and South Ashland Avenue, in Chicago, Illinois, for the transaction.

      12.    At approximately 1:00 p.m., law enforcement agents met with CS-1 at a

predetermined location and searched CS-1 and his/her vehicle for contraband,

firearms, and excess U.S. currency, and found none. Law enforcement then equipped

CS-1 and CS-1’s vehicle with audio/video recording devices and provided CS-1 with

approximately $1,000 in pre-recorded government funds to purchase the pistol from



                                         6
BELL. In addition to the audio/video recording devices, CS-1 was also equipped with

a transmitter that provided agents with a live audio feed. CS-1 then drove to the area

of the gas station while being followed by law enforcement.

       13.    At approximately 1:22 p.m., law enforcement surveillance observed a

grey Nissan Sentra with Illinois temporary registration number 568-AA-391 drive

past CS-1’s vehicle, which was located near the gas station. According to CS-1, BELL

occupied the front passenger seat of the vehicle. According to CS-1, BELL alerted CS-

1 to turn onto South Paulina Street. Law enforcement surveillance observed CS-1’s

vehicle travel down Paulina Street. Law enforcement surveillance observed CS-1

park his/her vehicle on the street, behind the Nissan Sentra. Law enforcement then

observed BELL 5 exit the front passenger side of the Nissan Sentra, and enter the

front passenger seat of CS-1’s vehicle. The driver of Nissan Sentra remained in the

driver’s seat of the vehicle.

       14.    At approximately 1:30 p.m., law enforcement, listening to CS-1’s live

audio transmitter, heard BELL repeatedly demand that CS-1 give BELL his/her

wallet. According to CS-1 and the audio/video recording captured by the device in CS-

1’s vehicle, which were later reviewed by law enforcement, while BELL was ordering

CS-1 to turn over his/her wallet, BELL was also pointing a firearm at CS-1. A

screenshot from the audio/video recording device in CS-1’s vehicle showing BELL

pointing the gun at CS-1 is shown below:


5 Law enforcement identified BELL by comparing the individual who met with CS-1 to
BELL’s booking photo. Law enforcement also was familiar with BELL’s appearance based on
previous narcotics transactions that BELL had conducted with CS-1.



                                           7
      15.   According to CS-1 and the audio-video recordings, after BELL

demanded CS-1’s wallet, CS-1 handed BELL the $1,000 in pre-recorded government

funds that law enforcement previously provided to CS-1 for the purpose of purchasing

the pistol from BELL. In addition, according to CS-1 and the audio-video recording,




                                         8
BELL searched certain compartments inside of CS-1’s vehicle to locate additional

cash or items to steal from CS-1. As BELL conducted this search, BELL continued to

point the firearm at CS-1.

      16.    As soon as law enforcement learned that BELL was robbing CS-1, law

enforcement converged on CS-1’s vehicle. BELL exited the vehicle and ran away from

law enforcement, ignoring law enforcement’s verbal commands to stop. Law

enforcement pursued BELL on foot.

      17.    As law enforcement was attempting to apprehend BELL, BELL fell to

the ground. As he fell, law enforcement observed BELL drop a firearm. BELL then

got up from the ground and continued to run from law enforcement. Law enforcement

retrieved the firearm that BELL dropped and determined it was a loaded Glock Model

21, 45 caliber semi-automatic pistol, bearing serial number BKWA019, with an

extended magazine attached to the firearm.

      18.    Law enforcement then arrested BELL. During a search of BELL’s

person, law enforcement recovered the $1,000 in pre-recorded government funds that

BELL stole from CS-1 during the robbery. Law enforcement also recovered additional

currency on BELL’s person.

      19.    Prior to providing $1,000 in pre-recorded funds to CS-1 so that CS-1

could conduct the transaction with BELL on or about November 12, 2021, law

enforcement made a receipt of the currency that was provided to CS-1. The receipt

recorded the serial numbers of each bill. Law enforcement compared the serial

numbers of the $1,000 found in BELL’s possession to the serial numbers of the pre-




                                        9
recorded bills and found that the bills recovered from BELL matched the serial

numbers of the pre-recorded currency.

II.   CONCLUSION

      20.    Based on the foregoing facts, I respectfully submit that there is probable

cause to believe that on or about November 12, 2021, LINDSEY BELL violated Title

18, United States Code, Sections 2114(a) and 924(c)(1)(A).



                                        FURTHER AFFIANT SAYETH NOT.

                                                             11/15/2021
                                        Sean Ahern
                                        Special Agent, Bureau of Alcohol, Tobacco,
                                        Firearms & Explosives


SUBSCRIBED AND SWORN to telephonically on November 15, 2021.


JEFFREY COLE
United States Magistrate Judge




                                          10
